                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE


Cathy Bashaw, et al.
                                                    Plaintiff     Case No.: 3:19−cv−00843
v.
                                                                  Judge William L. Campbell, Jr.
Nissan North America, Inc., et al.
                                                    Defendant

          NOTICE OF SETTING OF INITIAL CASE MANAGEMENT CONFERENCE

          Pursuant to Local Rule 16.01, effective August 14, 2018, notice is hereby given that the
initial case management conference is scheduled before Magistrate Judge Frensley, Courtroom 783,
U.S. Courthouse, 801 Broadway, Nashville, TN at 10:00 AM on 11/26/2019.
         LEAD TRIAL COUNSEL FOR EACH PARTY who has been served and who has received
this notice is required to attend the initial case management conference unless otherwise ordered by
the case management judge. Appearance by counsel at the initial case management conference will
not be deemed to waive any defenses to personal jurisdiction. Counsel are advised to bring their
calendars with them to the conference for the purpose of scheduling future dates. Counsel for the
filing party is also advised to notify the courtroom deputy for the Judge before whom the conference
is scheduled, if none of the defendants has been served prior to the scheduled conference date.
         Counsel for all parties must, at the initiative of plaintiff's counsel, prepare and submit a
proposed case management order that encompasses the discovery plan required by Fed.R.Civ.P.
26(f), addresses any issues that can be resolved by agreement, and is otherwise in compliance with
Local Rule 16.01(f). The proposed case management order shall be submitted electronically with
the Court THREE (3) business days before the initial case management conference and
counsel shall also email a copy to chambers at frensleychambers@tnmd.uscourts.gov. If the
proposed order CANNOT be submitted electronically on time, PLAINTIFF'S COUNSEL is
responsible for contacting the Magistrate Judge's office to reschedule the conference.
FAILURE to obtain service on all defendants should be called to the Magistrate Judge's
attention. FAILURE TO FILE THE PROPOSED CASE MANAGEMENT ORDER
ELECTRONICALLY WITHOUT CONTACTING THE MAGISTRATE JUDGE'S OFFICE
CAN RESULT IN SANCTIONS.
       Effective December 1, 2000, Fed. R. Civ. P. 26(a)(1) and April 18, 2005, Administrative
Order No. 167 regarding required initial disclosures and electronic proposed orders applies.

      PURSUANT TO LOCAL RULE 16.01(e)(2), COUNSEL FOR THE PARTY FILING
THIS LAWSUIT MUST SERVE A COPY OF THIS NOTICE ON THE OTHER PARTIES
TO THIS LAWSUIT ALONG WITH THE SUMMONS AND COMPLAINT OR WITH THE
REQUEST FOR WAIVER OF SERVICE UNDER FED. R. CIV. P. 4(d), OR WITH THE
SERVICE COPY OF THE NOTICE OF REMOVAL.


                                                                       CLERK'S OFFICE
                                                                       Middle Districe of Tennessee

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